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                                 CERTIFICATE OF SERVICE


               I, Ann C. Cordo, Esquire, certify that I am not less than 18 years of age, and that

service of the foregoing Debtors’ Motion Pursuant To 11 U.S.C. §§ 105 And 363 And Fed. R.

Bankr. P. 9019 For Entry Of An Order (I) Authorizing And Approving The Flextronics

Settlement And Release Agreement, (II) Authorizing And Approving The Related Side

Agreement And (III) Granting Related Relief was caused to be made on November 24, 2009,

in the manner indicated upon the entities identified on the attached service list.


Date: November 24, 2009                               /s Ann C. Cordo
                                                          Ann C. Cordo (No. 4817)




3254582.1
